  Case 14-19952-KCF            Doc 54      Filed 02/13/18 Entered 02/13/18 12:56:08              Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)

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                                                                Case No.:      ___________________
                                                                                  14-19952 KCF
In Re:
Stoney R. Bishop, Jr.                                           Chapter:                13
                                                                               ___________________
   Debtor
Jeanine Bishop                                                  Hearing Date: ___________________
                                                                                    2/14/18
    Co-Debtor
                                                                Judge:          Kathyrn C. Ferguson
                                                                                ___________________



                                           STATUS CHANGE FORM

   Pursuant to D.N.J. LBR 9013-3, the undersigned notifies the court that the matter identified below
   has been:

                             ‫ ܆‬Settled             ‫ ܆‬Withdrawn

           Motion for relief from Stay, 2 Sandstone Court, Medford, NJ 08055, filed on
   Matter: ___________________________________________________________________________

   January 9, 2018, docket #52
   __________________________________________________________________________________



          2/13/18
   Date: ______________________                             /s/ Denise Carlon
                                                            ________________________________
                                                            Signature




                                                                                                    rev.8/1/15
